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 5
      DOUGLAS COUNTY, SCOTT SHICK, AND
 6    VICTORIA SAUER-LAMB

 7                                UNITED STATES DISTRICT COURT
 8
                                          DISTRICT OF NEVADA
 9
10     JOHN ENOS, an individual,
                                                              CASE NO. 3:17-cv-00095-MMD-CLB
11                                         Plaintiff,

12     vs.
                                                              STIPULATION AND ORDER TO
13                                                            EXTEND TIME TO FILE PROPOSED
       DOUGLAS COUNTY, a political subdivision of             JOINT PRETRIAL ORDER (SECOND
14     the State of Nevada; SCOTT SHICK, Chief                REQUEST)
15     Juvenile Probation Officer of the Juvenile
       Probation Department; VICTORIA SAUER-
16     LAMB, Supervisor of the Juvenile Probation
       Department; DOE GOVERNMENTAL
17     ENTITIES 1-10; DOE BUSINESS ENTITIES 1-
18     10; and DOE INDIVIDUALS 4-50,

19                                       Defendants.
20
             COMEs NOW Plaintiff, JOHN ENOS, and Defendants, DOUGLAS COUNTY, SCOTT
21
22    SHICK, and VICTORIA SAUER-LAMB, by and through their undersigned attorneys of record,

23    and hereby request an additional thirty (30) days in which to file their proposed Joint Pre-Trial
24
      Order. The proposed Joint Pretrial Order is currently due on Wednesday, May 20, 2020. The
25
      parties are requesting an additional thirty (30) days through and including Friday, June 19,
26
27    2020, in which to file the proposed Joint Pretrial Order.

28           The parties stipulate and agree that the instant request is not made for the purpose of



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      delay and that no party will be prejudiced should the Court grant same. The parties request the
 1
 2    additional time set forth herein due to ongoing issues associated with the Governor’s stay-at-

 3    home order related to the COVID-19 pandemic and its impact on counsels’ ability to work in
 4
      their respective offices and to meet and confer over the subject matter required in the Joint Pre-
 5
      Trial Order.
 6
 7      DATED this 14th day of May, 2020.                DATED this 14th day of May, 2020.

 8      THE GEDDES LAW FIRM, P.C.                        THORNDAL ARMSTRONG DELK
                                                         BALKENBUSH & EISINGER
 9
10      By: / s / William Geddes_________                By: / s / Katherine F. Parks __________
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                                                            DOUGLAS COUNTY, SCOTT SHICK, AND
15                                                          VICTORIA SAUER-LAMB
16      DATED this 14th day of May, 2020.

17      THE PALMER LAW FIRM, P.C.
18
        By: / s / Raelene K. Palmer, Esq. _____
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22         Attorneys for Plaintiff
           John Enos
23
24                                                 ORDER
             IT IS SO ORDERED.
25
                    May 14
             DATED ____________________, 2020.
26
27
                                                    ___________________________________
28                                                  DISTRICT COURT JUDGE



                                                     -2-
